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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 02-52-GF-DLC

             Plaintiff/Respondent,

       vs.                                                ORDER

VICTOR FOURSTAR, JR.,

             Defendant/Movant.


      On July 7, 2021, Defendant/Movant Fourstar moved to vacate, set aside, or

correct a revocation sentence imposed on July 21, 2020. See Mot. § 2255 (Doc.

424) (“Motion A”) at 2 ¶ 1; Fifth Revocation Judgment (Doc. 356); see also 28

U.S.C. § 2255. On July 12, 2021, he moved to vacate, set aside, or correct a

subsequent revocation sentence under § 2255. See Mot. § 2255 (Doc. 427)

(“Motion B”) at 4 ¶ 5(A); Sixth Revocation Judgment (Doc. 394).

      When Fourstar filed these motions, he was serving a twelve-month prison

sentence imposed on December 10, 2020, following the sixth revocation of his

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supervised release. The sixth judgment imposed no term of supervised release

following the prison term. Fourstar completed the prison term and was released

from all federal custody on October 29, 2021. See Notice (Doc. 451) at 1–2.

      Fourstar’s § 2255 motions are controlled by Burton v. Stewart, 549 U.S. 147

(2009) (per curiam), and Spencer v. Kemna, 523 U.S. 1 (1999).

      Fourstar asserts the attorneys appointed to represent him in revocation

proceedings were ineffective in various ways. See Motion A at 4 ¶ 5(A); Motion B

at 5. As he has been released with no further conditions of supervision, his

revocations are no longer causing him an actual injury redressable by a decision

that his supervised release was not fairly revoked. The matters for which he seeks

redress, such as the requirement that he register as a sex offender, see Motion A at

6 ¶ 6; Motion B at 7 ¶ 6, no longer take the form of conditions of supervision.

Compare, e.g., Fifth Revocation Judgment (Doc. 356) at 3 ¶ 6 with Sixth

Revocation Judgment (Doc. 394) at 2. Construed as challenges to either

revocation judgment, Fourstar’s claims no longer present a case or controversy as

required by the Constitution. They are moot. See U.S. Const. Art. III, § 2;

Spencer, 523 U.S. at 7.

      Of course, Fourstar is required to register as a sex offender, because he was

convicted of aggravated sexual abuse. See, e.g., Judgment (Doc. 110); 34 U.S.C.

§§ 20911 et seq. To the extent he challenges the validity of the judgment of

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conviction, he is reminded that this Court lacks jurisdiction to consider

unauthorized successive motions under § 2255. See Burton, 549 U.S. at 149; 28

U.S.C. § 2255(h); Order (Doc. 131); 9th Cir. Order Denying Certificate of

Appealability (Doc. 136); see also, e.g., Orders (Docs. 140, 145, 264). To the

extent Fourstar challenges the validity of a 1992 State conviction, this Court lacks

jurisdiction under the plain language of 28 U.S.C. § 2255(a) and cannot convert his

motions to habeas petitions under 28 U.S.C. § 2254. See Order (Doc. 8) at 6;

Order Denying Certificate of Appealability (Doc. 12), Fourstar v. State of

Montana, No. CV 21-26-GF-SPW (D. Mont. filed Mar. 8, 2021).

      The law governing Fourstar’s motions is well-established. There is no

reason to encourage further proceedings. A certificate of appealability is not

warranted. See 28 U.S.C. § 2253(c)(2); Gonzalez v. Thaler, 565 U.S. 134, 140–41

(2012) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)).


      Accordingly, IT IS ORDERED:

      1. Fourstar’s motions to vacate, set aside, or correct the fifth and sixth

judgments on revocation of his supervised release (Docs. 424, 427) are

DISMISSED as moot.

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Fourstar files Notices of Appeal.

      3. The Clerk of Court shall ensure that all pending motions in this case and
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in CV 21-81-GF-DLC and CV 21-83-GF-DLC are terminated and shall close the

civil files by entering judgments of dismissal.

      DATED this 3rd day of November, 2021.




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